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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA

  v.                                                Case No. 18-CR-80166-DMM

  NICHALOS R. WUKOSON
  ______________________________/

       NOTICE OF INTENT TO INTRODUCE OTHER ACTS EVIDENCE PUSUANT TO
                    F.R.E. 404(B) AND AS INTRINSIC EVIDENCE

          COMES NOW the United States, by and through the undersigned Assistant United States

  Attorney, and hereby files this notice of intent to introduce other acts evidence under Federal Rule

  of Evidence 404(b) and as intrinsic evidence and states the following in support thereof. The

  United States seeks to introduce at trial, evidence of uncharged conduct committed by the

  defendant, NICHALOS R. WUKOSON (“WUKOSON” or “the defendant”), namely, 1) data,

  images and videos from the black HP and silver HP laptops evidencing child pornography from

  2014 through December 4, 2017; and 2) logs, images and videos from the undercover downloads

  and attempts to download child pornography from the defendant’s computer, all of which shall be

  offered to prove WUKOSON had the motive, intent, plan, knowledge, and lack of mistake, to

  commit the offenses charged in the Indictment presently before the Court. Concurrently or

  alternatively, all of the items listed above and further detailed below are intrinsic evidence

  of the charged criminal acts and thus independently admissible.

                                         FACTUAL SUMMARY

          The evidence adduced at trial will show that between June and November of 2017, an

  undercover FBI Task Force Officer (TFO) attempted to downloaded and downloaded hundreds of

  images and videos depicting the sexual abuse of minors, over the course of twenty-three (23)
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  different days. The child pornography that was downloaded was done so directly from a host

  computer using an IP (internet protocol) address through the Bit Torrent peer-to-peer network

  (“Bit Torrent”), that resolved to WUKOSON’s residence in Jupiter, Florida. Nine (9) of these

  child pornography videos are the subject of counts 3-6 of the Superseding indictment. On

  December 4, 2017, the FBI executed a search warrant at the defendant’s residence. A silver HP

  laptop was discovered in WUKOSON’s bedroom, along with an iPhone and iPad. Preliminarily,

  during the execution of the search warrant, a forensic review of the silver HP laptop did not reveal

  child pornography on the device and further examination was needed. WUKOSON’s iPhone was

  imaged, and returned to him, as he indicated it was for work.                 The same was true with

  WUKOSON’s iPad.           The two phones found in kitchen were seized.               One, a Galaxy S6,

  WUKOSON identified as his own; it was seized and examined at the FBI office. The second, a

  Galaxy S7, WUKOSON identified as belonging to his 13-year-old son, who had left the residence

  to go to school during the execution of the search warrant.1 In a post Miranda interview, the

  defendant denied, among other things, that (i) he had familiarity with Bit Torrent; and (ii) he had

  been downloading child pornography or pornography of any kind. Additionally, when shown a

  second computer (a black HP laptop) that was found in a closet of the residence, the defendant

  initially denied ownership but then subsequently admitted it was his own. That computer was

  seized and later examined as well.2

          Forensic examination of the black HP laptop and the silver HP laptop has resulted in the



  1
    The 13-year-old son left the residence with his iPhone. This device was not imaged or examined by the
  FBI, as the 13-year-old was not a person of interest in this investigation, which surrounded the Bit Torrent
  network and to the agent’s knowledge on scene, would only be accessible via a computer.
  2
    The government will present evidence that the black HP laptop could not be images or examined. An
  FBI computer scientist was able to repair the hard drive, image or copy the device, and submit to the FBI
  forensic examiner for extraction and analysis.
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  discovery of thousands of images and videos of child pornography, as well as evidence of deleted

  files with titles of and searches for child pornography. Because much of this information had

  been deleted, the evidence was not available on scene to the forensic examiner. Through defense

  counsel, the defendant made the government aware that he will likely assert at trial that his now,

  14-year-old son, who was between 10 and 12 years old during the charged periods of child

  pornography, was responsible for accessing, downloading, and viewing the child pornography

  discovered on the two computers.

                                      THE “OTHER” EVIDENCE

         At trial, the United States intends to offer testimony of FBI Cart Examiner Brian O’Neil

  regarding the forensic examination of WUKOSON’s black and silver HP laptops.                  That

  examination revealed previous use of the Bit Torrent file-sharing program on these computers.

  That examination in many instances coincides with more than twenty dates that law enforcement

  attempted to downloaded or did download child pornography from the defendant’s computer as

  well as within the range of dates charged in Counts 1 and 2, including the following: log files;

  shellbags; LNK files; Internet Explorer history, main history and content; prefetch files; torrent

  active transfer files; and search queries. Further, in accessing the defendant’s two computers in a

  virtual scenario, screen shots of the defendant’s computer will be offered to provide a visual

  showing of how the defendant accessed child pornography on the computer. Data from the

  defendant’s two (2) mobile phones, an iPhone 6s and Samsung Galaxy S6 also provide relevant

  data to the location of the defendant and others during and around the days that law enforcement

  attempted to download or did download child pornography from the defendant’s computer.

         At trial, the United States intends to offer testimony of law enforcement officers regarding

  the investigation of defendant that led to the execution of the search warrant at his residence on

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  December 4, 2017. The testimony of FBI Special Agent Dan Alfin will explain the downloading

  of child pornography that defendant made available for distribution from his (defendant’s)

  computer during the investigation. 3       Specifically, SA Alfin, will testify that during the

  investigation of this case, on dates from June 2017 through November 2017, using a law

  enforcement computer, the FBI was able to connect to a host computer, later connected to

  defendant’s residence, and download hundreds of viewable images and videos of child

  pornography, including those charged in counts three through six in the superseding indictment.

  Only portions of the nine (9) charged videos will be offered into evidence, but SA Alfin will testify

  that all of the downloaded images and videos either child pornography or child erotica.

         The Government now seeks to admit, pursuant to Rule 404(b), this evidence to show

  WUKOSON’s motive, intent, plan, knowledge, and lack of mistake to possess child pornography.

  Moreover, such testimony is admissible, as evidence tending to show Athe chain of events

  explaining the context, motive and set-up of the crime, is properly admitted if ... [it] forms an

  integral and natural part of an account of the crime, or is necessary to complete the story of the

  crime for the jury.@ United States v. McLean, 138 F.3d 1398, 1043 (11th Cir. 1998) (citing United

  States v. Williford, 764 F.2d 1493, 1499 (11th Cir. 1985)).

                                        Memorandum of Law

         A.      The Evidence is Admissible Under Rule 404(b)

         Federal Rule of Evidence 404(b) excludes the admission of “other crimes, wrongs, or acts”

  (i.e., uncharged bad acts) to prove action in conformity therewith but allows for their admission as

  proof of “motive, opportunity, intent, preparation, plan knowledge, identity, or absence of mistake



  3
   The undersigned Assistant United States Attorney emailed both counsel of record for the defendant the
  CV and 16(a)(1)(G) notice for SA Alfin concerning the matters for which he will be testifying.
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  or accident.” Fed. R. Evid. 404(b). United States v. Edouard, 485 F.3d 1324, 1344 (11th Cir.

  2007) (citations omitted). To be admissible under Rule 404(b), evidence of other acts, crimes or

  wrongs, must satisfy the requirements set forth in United States v. Huddleston, 485 U.S. 683

  (1988).     In determining the admissibility of prior act evidence, the Court should first decide if

  the evidence is offered for a proper purpose – “one other than to prove the defendant’s bad

  character or criminal propensity.” Id. at 683.         Second, the Court should decide whether the

  evidence is relevant to some disputed issue in the trial. Id.         Third, the court should assess

  whether the probative value of the evidence is substantially outweighed by the danger of unfair

  prejudice its admission would create. Id. See also United States v. Jennings & Jennings, 280

  Fed.Appx. 836, 841 (11th Cir. 2008); Edouard, 485 F.3d at 1344.

            Finally, if requested to do so, the court should give an appropriate limiting instruction.

  Huddleston, 485 U.S. at 683. Before admitting evidence pursuant to Rule 404(b), the Court need

  not hold a Rule 104(a) evidentiary hearing, but instead must only make a preliminary finding that

  the evidence is not being admitted solely to prove character and a jury could reasonably conclude

  that “the act occurred and that the defendant was the actor.” Id. at 689 (stating that a preliminary

  finding by a preponderance of the evidence is not required).

            The Eleventh Circuit has likewise held that, “[f]ederal Rule of Evidence 404(b) is a rule of

  inclusion, and . . . accordingly 404(b) evidence, like other relevant evidence, should not be

  excluded when it is central to the prosecution's case.” United States v. Eckhardt, 466 F.3d 938,

  946 (11th Cir. 2006) (quoting United States v. Jernigan, 341 F.3d 1273, 1280 (11th Cir. 2003)

  (internal citations and quotations omitted)).

            The evidence of the past, deliberate entry of key-word Internet searches using terms that

  nearly mirror his sexual abuse against the victim, and the fact that these searches were conducted

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  on the computers at or around the time the images were produced and possessed – is relevant

  because it tends to refute any claim by Defendant that he did not intend to possess the images and

  videos of the victim. Put another way, this evidence tends to prove that when the Defendant

  conducted key-word Internet searches for child pornography, he did so intentionally, knowing or

  at least hoping he would find child pornography. Accordingly, this “other crimes, wrongs or acts”

  evidence should deemed admissible under Rule 404(b). The same is true for the log files;

  shellbags; LNK files; Internet Explorer history, main history and content; prefetch files; torrent

  active transfer files, as well as the timeline and associated data from the defendant’s Galaxy S6

  cellphone and iPhone 6S.4 This data is generated by the computer and the Bit Torrent program

  during usage of the same by the user, which in this case, is the defendant, specifically when his

  son was not present.

          In the instant case, the defendant or his counsel may assert that he did not knowingly and

  intentionally possess the child pornography. Or perhaps the Defendant will claim that someone

  else used his devices to download and possess the images and videos of child pornography. Each

  of these claims is contradicted by the other acts evidence the government will seek to admit at trial.

  Because that evidence is being offered for a proper purpose—to show Defendant’s knowledge,

  intent, identity, and lack of mistake or accident—it is relevant to the crimes for which he is charged

  and should be deemed admissible at trial under Rule 404(b). Moreover, as the Eleventh Circuit

  has explained, when a defendant pleads not guilty and elects to go to trial, as WUKOSON has, he

  places these considerations at issue. Edouard, 485 F.3d at 1545 (quoting, United States v. Zapata,

  139 F.3d 1355, 1358 (11th Cir. 1998)) (“A defendant who enters a not guilty plea makes intent a


  4
   All of this material was made available to the defendant in discovery when the government turned over
  one-hundred fifty-five (155) .CSV files extracted out of the two computers, the logical extraction from the
  defendant’s Galaxy S6 phone and the physical extraction from the defendant’s iPhone 6s.
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  material issue which imposes a substantial burden on the government to prove intent, which it may

  prove by qualifying Rule 404(b) evidence absent affirmative steps by the defendant to remove

  intent as an issue.”).

          Proof of the defendant’s prurient sexual interest in children, as evidenced by the images of

  child pornography (most of which was deleted), data as indicated above, and the search terms,

  clearly forms an integral part of the story of this case. See McLean, 138 F.3d at 1403.

          C.      The Evidence is Admissible as Intrinsic Evidence

          The Eleventh Circuit Court of Appeals has held that “intrinsic evidence is admissible if it

  is (1) an uncharged offense which arose out of the same transaction or series of transactions as the

  charged offense, (2) necessary to complete the story of the crime, or (3) inextricably intertwined

  with the evidence regarding the charged offense.” United States v. Troya, 733 F.3d 1125, 1131

  (11th Cir. 2013) (internal quotation marks omitted). Stated another way:

          Evidence, not part of the crime charged but pertaining to the chain of events explaining
          the context, motive and set-up of the crime, is properly admitted if linked in time and
          circumstances with the charged crime, or forms an integral and natural part of an
          account of the crime, or is necessary to complete the story of the crime for the jury.

          United States v. Williford, 764 F.2d 1493, 1499 (11th Cir. 1985). Such evidence is not extrinsic

  evidence and thus no 404(b) analysis is needed. Id. An act can be intrinsic evidence, or res gestae,

  regardless of whether the act occurred during or outside of the charged time period. United States v.

  Tunsil, 672 F.2d 879, 880–81 (11th Cir. 1982).

          Admitting the data and logs listed above, as well as the images and videos not charged in

  the indictment is appropriate and not more prejudicial than probative as well, given the length of

  the time the Defendant is charged with possessing child pornography. During the trial, it is

  expected that SA Alfin with testify, among other things, that the FBI was able to connect to a host

  computer, later attributed to the defendant, and downloaded hundreds of images and videos of
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  child pornography, including the nine (9) charged in Counts 3-6 of the Superseding Indictment.

  SA Alfin will testify that all of the remaining videos being distributed by defendant were child-

  pornographic or erotic in nature, and a document listing these the dates and times of those files, is

  “inextricably intertwined” with the facts of the case. See United States v. Williford, 764 F.2d

  1493, 1499 (11th Cir. 1985). The government will move to admit a hard drive that contains the

  download logs and child pornography and erotica that was downloaded, thus allowing SA Alfin to

  testify from that material. Again, this is the evidence of WUKOSON’s crimes in this case. The

  evidence of the file titles of other videos being shared by defendant around the same time as the

  nine (9) charged videos and within the time period charged in Count 2, is “inextricably

  intertwined” with the rest of the United States’ case because it “tend[ed] to corroborate, explain,

  or provide necessary context for evidence regarding the charged offense[s]” of distribution of child

  pornography. Cowan v. United States, No. 3:14-cv-370-J-32MCR, 2017 WL 1386804, at *12

  (M.D. Fla. Apr. 18, 2017) (citing United States v. Bush, 673 Fed.App’x 947, 950 (11th Cir. 2016)

  (citation omitted)).

         Testimony that the defendant’s collection involved more child pornography than just the

  nine (9) charged videos in counts 3-6, and any videos and images the government will show to

  prove Counts 1 and 2, is properly admitted as lay opinion under Fed. R. Evid. 701. Such opinion

  testimony is admissible so long as it is: (a) rationally based on the witness’s perception; (b) helpful

  to clearly understanding the testimony or to determining a fact at issue; and (c) not based on

  knowledge with the scope of Fed. R. Evid. 702. See Fed. R. Evid. 701. A law enforcement officer

  witness’s conclusion that images are child pornographic in nature does not require qualification as

  an expert and is admissible subject to Rule 701 requirements. United States v. Cowan, 2012 WL

  5834582, at *2 (11th Cir. Nov. 19, 2012), cert. denied, 569 U.S. 937 (2013) (citing United States

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  v. Smith, 459 F.3d 1276, 1297 n. 18 (11th Cir. 2006)).

         If the Court should determine, however, that such evidence is extrinsic, it is still admissible,

  under Rule 404(b) as noted above, and relevant to show his motive, knowledge, intent, lack of

  mistake, and modus operandi for intending to engage in sexual activity with a child. United States

  v. Gomez, 927 F.2d 1530 (11th Cir. 1991). In Gomez, the Court held that a prior act similar to the

  charged conduct was admissible to rebut the defendant’s claim that his gun possession was for an

  innocent purpose. Id. at 1534.

         B.      The Evidence is Admissible Under Rule 403

         Just as in determining the admissibility of all evidence, a balancing test is applied pursuant

  to Federal Rule of Evidence 403 to determine whether the probative value of other acts evidence

  is substantially outweighed by the danger of unfair prejudice to the party opposing its admission.

  Huddleston v. United States, 485 U.S. 681, 688 (1988). The Supreme Court recognized in

  Huddleston that, “[e]xtrinsic acts evidence may be critical to the establishment of the truth as to a

  disputed issue, especially when that issue involves the actor's state of mind and the only means of

  ascertaining that mental state is by drawing inferences from conduct.” 485 U.S. at 685. Further,

  the prejudicial effect of the other acts evidence in the instant case is negligible at best given the

  actual produced child pornography images and videos. Moreover, any undue prejudice can be

  cured by an instruction from the Court on the proper consideration of Rule 404(b) evidence at and

  after its admission. See Jernigan, 341 F.3d at 1282 (trial court’s limiting instructions mitigated

  potential prejudice); see also United States v. Diaz-Lizaraza, 981 F.2d 1216, 1225 (11th Cir. 1993)

  (concluding that any prejudice could be mitigated by limiting instructions); see Criminal Pattern

  Trial Jury Instruction 1.1). Here, that includes all of the evidence listed above, but in addition,

  the playing and producing of child pornography images and videos to the jury.

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          Further, Rule 403, Federal Rules of Evidence, permits the exclusion of relevant evidence

   if its “probative value is substantially outweighed by a danger of … unfair prejudice.” Fed. R.

   Evid. 403. It is important to point out that unfair prejudice is what Rule 403 is meant to guard

   against, that is, prejudice based on something other than the evidence’s own persuasive weight.

   The term “unfair prejudice” refers to the “capacity of some concededly relevant evidence to lure

   the factfinder into declaring guilt on a ground different from proof specific to the offense charged.”

   Old Chief v. United States, 519 U.S. 172, 180 (1997). In Old Chief, the Supreme Court explained

   that it is “unquestionably true as a general matter,” that “the prosecution is entitled to prove its

   case by evidence of its own choice, or, more exactly that a criminal defendant may not stipulate or

   admit his way out of the full evidential force of the case as the Government chooses to present it.”

   Id. at 186-87. Evidence should not be excluded merely because it might be graphic or disturbing.

   United States v. Kapp, 419 F.3d 666, 667 (7th Cir. 2005); see also United States v. Morales-

   Aldahondo, 524 F.3d 115, 119-20 (1st Cir. 2008) (in child pornography case, “the court is not

   required to scrub the trial clean of all evidence that may have an emotional impact, where the

   evidence is part of the government’s narrative.”) (internal quotations omitted). The Eleventh

   Circuit has cautioned that Rule 403

          is an extraordinary remedy which the district court should invoke sparingly, and the
          balance should be struck in favor of admissibility. We have also said that in
          reviewing issues under Rule 403, we look at the evidence in a light most favorable
          to its admission, maximizing its probative value and minimizing its undue
          prejudicial effect.

   United States v. Alfaro-Moncado, 607 F.3d 720, 734 (11th Cir. 2010) (citation and quotations

   omitted).

          In a prosecution for possession child pornography, there is nothing unfair or unduly

   prejudicial about admitting and publishing to the jury the images and videos of child pornography

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   identified, or not, in the superseding indictment that defendant possessed, as his own conduct

   involving that material make up the very acts for which the jury will be asked to hold him

   accountable. While jurors may be repulsed by child pornography, they should be allowed to see

   the materials upon which the charges are explicitly based.         Counts 1 and 2 charge child

   pornography from a device and do not list a specific image or video, and thus the government will

   select small portions of several videos or images to display to the jury. Where a defendant is

   “being prosecuted for exactly what [the evidence] depicts,” the Court should steadfastly reject

   Rule 403 challenges. See United States v. Hanna, 630 F.3d 505, 512 (7th Cir. 2010) (citations

   omitted). This is precisely the case before this Court.

          Appellate courts, including the Eleventh Circuit, have repeatedly and nearly uniformly

   ruled that publication of child pornography images or videos selected by the government was not

   unduly prejudicial, notwithstanding a defendant’s offer to stipulate to their content. See United

   States v. Bilus, 626 F. App’x 856, 869 (11th Cir. 2015) (court held that admission publication of

   11 images and two 5-second video clips depicting child pornography did not cause unfair prejudice

   and that any prejudice that may have resulted from publication of these materials was outweighed

   by their probative value to the prosecution’s case); United States v. Cray, 450 F. App’x 923, 934-

   35 (11th Cir. 2012) (affirming conviction where jury was shown, over defendant’s objection,

   videos of child pornography); United States v. Ballard, 448 F. App’x 987, 988-89 (11th Cir. 2011)

   (affirming conviction where jury was shown, over defendant’s objection, 15 images and three

   videos of child pornography, despite defendant’s stipulation that all admitted evidence constituted

   child pornography); United States v. Miller, 416 F. App’x 885, 888-90 (11th Cir. 2011) (affirming

   conviction where jury was shown 11 out of 100 total images, despite defendant’s offer to stipulate

   that they depicted child pornography); United States v. Alfaro-Moncada, 607 F.3d 720, 734 (11th

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   Cir. 2010) (affirming conviction where jury was shown, over defendant’s objection, five child

   pornography images despite defendant’s stipulation that charged materials contained child

   pornography); United States v. Dodds, 347 F.3d 893, 897-99 (11th Cir. 2003) (affirming

   conviction in which jury was shown, over defendant’s objection that the evidence was cumulative

   and unduly prejudicial, 66 images of child pornography); United States v. Mellies, 329 F. App’x

   592, 600-01 (6th Cir. 2009) (admission of 1,600 images, out of 11,000 in defendant’s collection,

   was not improper despite defendant’s admission that the images portrayed child pornography);

   United States v. Sewell, 457 F.3d 841, 844 (8th Cir. 2006) (in interlocutory appeal, court held that

   the district court “abused its discretion in refusing to allow the Government to publish a

   representative sample of the [child pornography] images” found on defendant’s computer).

          The defendant may claim that the videos and images are “inflammatory,” implying that

   upon seeing the child pornography, the jury would automatically convict him regardless of whether

   the rest of the evidence proves that he committed the crimes. Such an argument might have some

   minimal sway if the evidence at issue was somehow collateral to the charged offenses, but it makes

   no sense here. In this case, the videos and images are the crimes, and presumably the defense is

   “somebody else” made them available for distribution. If the jury accepted this defense, why

   would it conclude that, even though defendant did not distribute the videos, he is nonetheless a

   bad person deserving of punishment through a guilty verdict? This argument would be based on

   flawed logic and should be rejected by this Court.

          At trial, the United States should be permitted to admit and publish portions of the nine (9)

   videos charged in the indictment from Counts 3-6, as well as portions of several other videos that

   make up the basis of Counts 1 and 2, as well as other videos downloaded from the defendant.

   These excerpts constitute a mere fraction of defendant’s total collection available for distribution

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   and which he possessed, which numbered in the hundreds of videos and images. This evidence

   is not extrinsic; rather, it is the crux of defendant’s charged crimes. With the Court’s permission,

   brief clips of each of the videos and several of the images will be displayed. Of course, the Court

   may preface this publication with an appropriate cautionary instruction. See United States v.

   Baker, 2015 WL 7068145 (MD Fla 2015) Case No. 3:13-cr-197-J-32JBT, Doc. 114 at 16. This

   proposed plan to present this important evidence is reasonable, measured, and could never be

   characterized as gratuitous.

           Publishing a measured portion of the defendant’s collection not only conforms with

   Eleventh Circuit precedent, it ensures that each of the jurors is exposed to and considers all of the

   evidence. If the videos are merely sent back to the jury room on disks in envelopes without

   publishing them in court, there is a strong possibility that some, or all, of the jurors will opt not to

   look at the videos at all. Even if a lone juror takes seriously, the Court’s command to “consider

   all of the evidence,” and wishes to view the evidence to fulfill his duty that he swore under oath to

   undertake, negative peer pressure and the fear of the social stigma and being labeled a “pervert”

   by the other jurors may prevent him from doing so. Furthermore, if one or two jurors look at the

   videos and images during deliberation but the others do not, will that not mean that the jurors who

   look are privy to evidence that the others have not seen? Will that force the others to look also,

   or will they decline to do so thereby refusing to follow the Court’s instruction to “consider all of

   the evidence?”5 Alternatively, will the ones who view the evidence have leverage and sway over

   the others because they are the only jurors to have actually seen all of the evidence? Publishing

   the evidence in court avoids all of these problems by ensuring that every juror views a brief sample


   5
     See Eleventh Circuit Pattern Jury Instructions, Basic Instruction B5 (2016) (“When I say you must
   consider all the evidence, I don’t mean that you must accept all the evidence as true or accurate”) (emphasis
   added); see also United States v. Carr, MDFL Case. No. 3:16-cr-118-J-39JBT, Doc. 70 at 4, 5.
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   of each charged video.

          Seeing the evidence for themselves enables the jurors to make a direct connection that

   cannot be duplicated or substituted by mere testimony or written stipulation, and the importance

   of which cannot be overstated. This connection to the evidence will eliminate the possibility of

   any “doubting Thomas” jurors who might have a preconceived and incorrect understanding of

   what constitutes child pornography, and will provide the United States the fair opportunity to carry

   its high burden of proof. As the Supreme Court remarked in Old Chief, “[a] syllogism is not a

   story, and a naked proposition in a courtroom may be no match for the robust evidence that would

   be used to prove it.” 519 U.S. at 189. Eleventh Circuit precedent, as well as that of the majority

   of other circuits, supports the admission and the publication of images of child pornography to the

   jury, even when the parties enter into a stipulation. Morales-Aldahondo, 524 F.3d 115, 119-20

   (affirming conviction where jury was shown, over defendant’s objection, portion of defendant’s

   collection despite his offer to stipulate that all images and videos met the legal definition of child

   pornography). It is well established that the United States is entitled to prove its case free from a

   defendant’s preference to stipulate the evidence away. Old Chief, 519 U.S. at 189.

          Potential impact of the evidence on the jurors is properly addressed and minimized in jury

   selection by ensuring that the prospective jurors are aware of the nature of the charges and that

   they can be fair and impartial. This Court may advise the potential jurors (individually and in

   private) about the graphic nature of the visual materials and whether they can still be impartial

   upon seeing them. Panel members who respond in the negative are stricken and removed for

   cause. The defense then has the opportunity to strike up to 10 more potential jurors about whom

   he may have additional concerns. The result is that, after the jurors are vetted and empaneled,

   there is a strong presumption that they are the kind of jurors that are not so overly sensitive to the

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   content of the case that they cannot fairly consider the evidence. Rather, they have been selected

   precisely because they were the most likely to discharge their civic duty without bias or prejudice

   for and against the United States or defendant. By declaring that they can be impartial, they have

   all functionally agreed to view all the evidence. The selection process, and our entire judicial

   system, demands that these jurors be taken at their word. The proper manner for the Court to deal

   with the contraband evidence is to forewarn them during voir dire so that they are mentally

   prepared, thus not hobbling the prosecution by barring the United States from showing the jurors

   the best evidence of defendant’s charged offenses. The Court may properly give the jury a mid-

   trial cautionary instruction immediately prior to the images being published during the trial, as

   well as a similar instruction after the evidence has closed and before the jury begins its

   deliberations. See Baker, Doc. 114 at 16.

          In accordance with controlling Supreme Court (Old Chief) and Eleventh Circuit precedent,

   the applicable Eleventh Circuit pattern jury instructions, and in the interest of justice and fairness,

   the United States respectfully requests that this Court permit the admission of the nine (9) videos

   charged in Counts 3-6 of the Superseding Indictment, as well as several other videos and images

   recovered from the defendant’s computers and the undercover downloads, and allow publication

   of short excerpts of them to the jury.

                                                Conclusion

          For all these reasons, the United Court requests this court to grant the admission of the

   government’s evidence pursuant to F.R.E. 404(b) or that it is intrinsic evidence to the charged

   crimes that that the evidence is admissible in whole and the government be allowed to play the

   desired portions of the images and videos.



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                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULES

          I hereby certify that I have communicated the instant notice with Attorney Michael Cohen

   via telephone he objects to this motion.


                                                   Respectfully submitted,

                                                   ARIANA FAJARDO ORSHAN
                                                   UNITED STATES ATTORNEY


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                                  CERTIFICATE OF SERVICE

          I hereby certify that on March 14, 2019 I electronically filed the foregoing with the Clerk

   of the Court.

                                               s/ Gregory Schiller
                                               Assistant United States Attorney
